              Case 5:22-cv-00501-BLF Document 44 Filed 04/21/22 Page 1 of 11




1    HARMEET K. DHILLON (SBN: 207873)
2    harmeet@dhillonlaw.com
     MICHAEL A. COLUMBO (SBN: 271283)
3    mcolumbo@dhillonlaw.com
     MARK P. MEUSER (SBN: 231335)
4    mmeuser@dhillonlaw.com
5    DHILLON LAW GROUP INC.
     177 Post Street, Suite 700
6    San Francisco, California 94108
     Telephone: (415) 433-1700
7
8    DAVID A. WARRINGTON (admitted pro hac vice)
     dwarrington@dhillonlaw.com
9    CURTIS M. SCHUBE (admitted pro hac vice)
     cschube@dhillonlaw.com
10   DHILLON LAW GROUP INC.
11   2121 Eisenhower Avenue, Suite 402
     Alexandria, VA 22314
12   Telephone: (571) 400-2121

13   Attorneys for Plaintiffs

14   JOSEPH W. COTCHETT (SBN 36324)
     jcotchett@cpmlegal.com
15   TAMARAH P. PREVOST (SBN 313422)
16   tprevost@cpmlegal.com
     ANDREW F. KIRTLEY (SBN 328023)
17   akirtley@cpmlegal.com
     MELISSA MONTENEGRO (SBN 329099)
18   mmontenegro@cpmlegal.com
19   COTCHETT, PITRE & McCARTHY, LLP
     San Francisco Airport Office Center
20   840 Malcolm Road, Suite 200
     Burlingame, CA 94010
21   Telephone: (650) 697-6000
22   Attorneys for Defendants
23
     [Case caption follows on next page]
24
25
26
27
28
                                           Page 1
     Joint Case Management Statement
              Case 5:22-cv-00501-BLF Document 44 Filed 04/21/22 Page 2 of 11




1
2                                   UNITED STATES DISTRICT COURT
3                               NORTHERN DISTRICT OF CALIFORNIA
4                                        SAN JOSE DIVISION
5
      NATIONAL ASSOCIATION FOR GUN
6                                                          Case Number: 5:22-cv-00501-BLF
      RIGHTS, INC., a nonprofit corporation, and
7     MARK SIKES, an individual,

8                     Plaintiffs,                           JOINT CASE MANAGEMENT

9                     v.                                            STATEMENT

10    CITY OF SAN JOSE, a public entity,
      JENNIFER MAGUIRE, in her official
11    capacity as City Manager of the City of San
12    Jose, and the CITY OF SAN JOSE CITY                Judge: Honorable Beth Labson Freeman
      COUNCIL,
13
14                    Defendants.

15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                Page 2
     Joint Case Management Statement
                 Case 5:22-cv-00501-BLF Document 44 Filed 04/21/22 Page 3 of 11




1    The parties to the above-entitled action jointly submit this JOINT CASE MANAGEMENT
2    STATEMENT & PROPOSED ORDER pursuant to the Standing Order for All Judges of the
3    Northern District of California and Civil Local Rule 16-9.
4
5    1. Jurisdiction & Service
     The basis for the court’s subject matter jurisdiction over plaintiff’s claims and defendant’s
6    counterclaims, whether any issues exist regarding persona jurisdiction or venue, whether any
7    parties remain to be served, and, if any parties remain to be served, a proposed deadline for
     service.
8
9            This Court has federal question jurisdiction over this case pursuant to 28 U.S.C. § 1331
10
      because it arises under the First, Second, and Fourteenth Amendments to the U.S. Constitution
11
      and 42 U.S.C. § 1983. This Court has authority under 28 U.S.C. §§ 2201 and 2202 to grant
12
      declaratory relief. The Court also has supplemental jurisdiction over the state law claims
13
      pursuant to 28 U.S.C. §1367 because the federal and state claims are so related that they form
14
      part of the same case or controversy.
15
16           Defendants do not present counterclaims.

17           No issues exist over personal jurisdiction or venue as Defendants are officials of the

18    City of San Jose, which is within the geographical boundaries of the Northern District of

19    California, San Jose Division.

20           All parties to this action have been served.

21   2. Facts
     A brief chronology of the facts and a statement of the principal factual issues in dispute.
22
            a.       Plaintiffs’ Position
23
             The parties mostly agree on the facts. On February 8, 2022, the City of San Jose
24
      formally adopted Chapter 10.32 of Title 10 of the San Jose Municipal Code. It will become
25
26    effective on August 8, 2022, at which time it will require San Jose gun owners to carry

27    insurance policies for liability arising from the use of their guns, to pay an annual “fee”

28    directly to a non-profit, and to pay another fee to the City to cover the costs of administering

                                                    Page 3
     Joint Case Management Statement
              Case 5:22-cv-00501-BLF Document 44 Filed 04/21/22 Page 4 of 11




1     the Ordinance. The annual fee paid to the non-profit will not fund the City’s costs of
2     administering or enforcing the Ordinance. The non-profit will use the revenues from the
3     annual fee to fund programs about gun safety available to gun owners and members of their
4     household. The City will not otherwise manage the non-profit or dictate how it must spend the
5     annual fee but will review the non-profit’s performance.
6             The factual issues in dispute are:
7
             Whether the Ordinance’s requirements will achieve the City’s stated objectives of
8
              reducing gun violence and reimbursing the City or the public at large for the costs of
9
              gun violence.
10
             Whether the City’s findings regarding gun violence that were used to justify the
11
              Ordinance’s requirements are accurate and support the Ordinance’s requirements.
12
              b.        Defendants’ Position
13
14              The facets of the Ordinance are clear from its face. It requires San Jose gunowners to
15    1) obtain liability insurance covering loss or damage resulting from the accidental use of their
16    firearm; 2) pay an annual Fee to make available voluntary services to gunowner residents, their
17    household or family members, or those in an intimate relationship with them; and 3)
18    document their compliance by keeping near where their gun is stored or transported a City-
19    issued form attesting that the gunowner has the required insurance and a receipt showing they
20    have paid the Fee, and to produce these documents to a police officer upon lawful request.
21    ECF 25-3, Exhibit H (§ 10.32.200(B)(13); 10.32.210(A), (C); § 10.32.230(A), (B)).
22            Because the language of the Ordinance and the procedural history associated with its
23    enactment are essentially undisputed, Defendants do not believe there are factual issues in
24    dispute in this case.
25
     3. Legal Issues
26   A brief statement, without extended legal argument, of the disputed points of law, including
27   reference to specific statutes and decisions.

28
                                                   Page 4
     Joint Case Management Statement
                  Case 5:22-cv-00501-BLF Document 44 Filed 04/21/22 Page 5 of 11




             a.        Plaintiffs’ Position
1
2            Whether this is a pre-enforcement action ripe for review consistent with Babbitt v.
3             United Farm Worker’s Nat’l Union, 442 U.S. 289, 298 (1979).
4            Whether the new Ordinance violates article XI, §7 of the California Constitution
5             consistent with Fiscal v. City and County of San Francisco, 158 Cal.App. 895, 903 (Ct.
6             App. 2008).
7            Whether the new Ordinance violates the Second Amendment to the United States
8             Constitution. Specifically, at issue are 1) the appropriate level of scrutiny to apply
9             under the guidance of the Court in Dist. Columbia v. Heller, 554 U.S. 570 (2008), 2)
10            whether requiring insurance premiums and annual fees paid to a non-profit further the
11            stated government interests of reducing gun violence and reimbursing the City for the
12            costs of gun violence, 3) whether the insurance and non-profit fee requirements are a
13            reasonable fit between the challenged regulation and the asserted objective (See United
14            States v. Chovan, 735 F.3d 1127, 1139 (9th Cir. 2013)), and 4) whether the non-profit
15            fee violates the Murdock/Cox fee-jurisprudence, which has been adopted by the 9th
16            Circuit. See Bauer v. Becerra, 858 F.3d 1216 (9th Cir. 2017).
17           Whether the fee requirement violates the free speech and free association rights of San
18            Jose gun owners who do not consent to the fee consistent with Janus v. AFSCME,
19            Council 31, 138 S.Ct. 2448 (2018).
20           Whether the Ordinance creates taxes that were not voted upon by the citizens of San
21            Jose pursuant to Article XIII C of the California Constitution.
22           Whether the Ordinance violates section 1211 of the City of San Jose’s Charter.
23            b.     Defendants’ Position
24                Defendants agree with Plaintiffs’ list of the legal issues in dispute, but disagree with

25   the authority and reasoning Plaintiffs rely on in listing those issues. The disputed legal issues

26   (and the parties’ positions on them) are set forth in the in Plaintiffs’ Motion for Preliminary

27   Injunction (ECF 25) and Defendants’ Motion to Dismiss (ECF 36) and the corresponding

28   briefing filed therewith.
                                                       Page 5
     Joint Case Management Statement
              Case 5:22-cv-00501-BLF Document 44 Filed 04/21/22 Page 6 of 11




1    4. Motions
2    All prior and pending motions, their current status, and any anticipated motions.
3           The Plaintiffs have a pending Motion for Preliminary Injunction that has been briefed.
4            Its hearing is scheduled for July 21, 2022, at 9:00 a.m.
5           The Defendants have a pending Motion to Dismiss, to which the Plaintiffs’ Response

6            and the Defendants’ Reply are forthcoming. The hearing is scheduled for August 4,

7            2022, at 9:00 a.m.

8           Defendants filed an administrative motion under Local Rule 3-12 to relate this case

9            with another matter recently removed from state court, Howard Jarvis Taxpayers

10           Association, et al v. City of San Jose before Judge Cousins (Case No. 5:22-cv-02365-

11           NC). The Court granted that motion. ECF 41. On April 20, 2022, the Court issued an

12           Order to Show Cause, seeking briefing on why the two matters should not be

13           consolidated. ECF 43. That briefing will be submitted by May 4, 2022. Id.

14   5. Amendment of Pleadings

15   The extent to which parties, claims, or defenses are expected to be added or dismissed and a

16   proposed deadline for amending the pleadings.

17    The parties do not anticipate any additional amended pleadings.

18   6. Evidence Preservation
     A brief report certifying that the parties have reviewed the Guidelines Relating to the Discovery
19   of Electronically Stored Information (“ESI Guidelines”), and confirming that the parties have
     met and conferred pursuant to Fed. R. Civ. P. 26(f) regarding reasonable and proportionate
20
     steps taken to preserve evidence relevant to the issues reasonably evident in this action. See ESI
21   Guidelines 2.01 and 2.02, and Checklist for ESI Meet and Confer.

22           The parties have reviewed the Guidelines Relating to the Discovery of Electronically

23    Stored Information and have conferred about the steps taken to preserve evidence.
24   7. Disclosures
     Whether there has been full and timely compliance with the initial disclosure requirements of
25   Fed. R. Civ. P. 26 and a description of the disclosures made. For ADA and employment cases,
26   see General Order Nos. 56 and 71.
             The parties agree that the parties have complied, or will comply, with the initial
27
      disclosure requirement of Rule 26.
28
                                                   Page 6
     Joint Case Management Statement
              Case 5:22-cv-00501-BLF Document 44 Filed 04/21/22 Page 7 of 11




1    8. Discovery
2
     Discovery taken to date, if any, the scope of anticipated discovery, any proposed limitations or
3    modifications of the discovery rules, a brief report on whether the parties have considered
     entering into a stipulated e-discovery order, a proposed discovery plan pursuant to Fed. R. Civ.
4    P. 26(f), and any identified discovery disputes.
5             The parties agree that there will be no discovery in this case prior to a dispositive
6     ruling on Defendants’ Motion to Dismiss, set for hearing on August 4, 2022 if not mooted in
7     some manner by a ruling on Plaintiffs’ Motion for Preliminary Injunction set for hearing on
8     July 21, 2022.

9    9. Class Actions
     If a class action, a proposal for how and when the class will be certified.
10
              N/A.
11
     10. Related Cases
12   Any related cases or proceedings pending before another judge of this court, or before another
13   court or administrative body.
              On April 20, 2022, the Court ordered that this case is “related,” pursuant to Local Rule
14
      3-12, to the case entitled Howard Jarvis Taxpayers Association, et al v. City of San Jose (Case
15
      No. 5:22-cv-02365-NC) matter. ECF 41. Subsequent briefing on whether the cases should be
16
      consolidated will be submitted May 4, 2022. ECF 43.
17
     11. Relief
18
     All relief sought through complaint or counterclaim, including the amount of any damages
19   sought and a description of the bases on which damages are calculated. In addition, any party
     from whom damages are sought must describe the bases on which it contends damages should be
20   calculated if liability is established.
21            Plaintiffs seek nominal damages, attorney fees, injunctive relief and declaratory relief.
22    Nominal damages do not require calculation as they are “in name only and by nature [are]
23    minimal in amount.” Bayer v. Neiman Marcus Grp., Inc., 861 F.3d 853, 872 (9th Cir. 2017).
24            Defendants dispute there is any basis for Plaintiffs to collect damages or attorneys’ fees
25
      in this case.
26
     12. Settlement and ADR
27   Prospects for settlement, ADR efforts to date, and a specific ADR plan for the case, including
     which ADR process option the parties have selected and a proposed deadline, or if the parties do
28
                                                    Page 7
     Joint Case Management Statement
              Case 5:22-cv-00501-BLF Document 44 Filed 04/21/22 Page 8 of 11




     not agree, each party’s preferred option and timing, in compliance with ADR L.R. 3-5. In
1
     addition, the parties should include a description of key discovery or motions necessary to
2    position the parties to negotiate a resolution.

3            Because this matter seeks to invalidate a local law based upon the constitutionality of

4     that law, the parties agree that neither ADR nor settlement attempts will assist the parties in a

5     resolution.

6
             Defendants nonetheless remain open to resolution discussions.
7
     13. Consent to Magistrate Judge For All Purposes
8    Whether all parties will consent to have a magistrate judge conduct all further proceedings
9    including trial and entry of judgment. ____ YES _x___ NO
     14. Other References
10
     Whether the case is suitable for reference to binding arbitration, a special master, or the
11   Judicial Panel on Multidistrict Litigation.
12           Because this matter seeks to invalidate a local law based upon the constitutionality of

13    that law, the parties agree that the most efficient manner to resolve this dispute is to have a

14    district judge determine the constitutionality of the local law at issue.

15   15. Narrowing of Issues
     Issues that can be narrowed by agreement or by motion, suggestions to expedite the presentation
16   of evidence at trial (e.g., through summaries or stipulated facts), and any request to bifurcate
17   issues, claims, or defenses.
             The parties have met and conferred and do not believe any measures can be taken to
18
      narrow disputed issues at this time.
19
     16. Expedited Trial Procedure
20
     Whether this is the type of case that can be handled under the Expedited Trial Procedure of
21   General Order 64, Attachment A. If all parties agree, they shall instead of this Statement, file an
     executed Agreement for Expedited Trial and a Joint Expedited Case Management Statement, in
22   accordance with General Order No. 64, Attachments B and D.
23          Plaintiffs’ Motion for Preliminary Injunction will be heard on July 21, 2022. On March
24   25, 2022, Plaintiffs Filed an Unopposed Motion to Shorten Time, which was denied on the same
25   day.
26   17. Scheduling
27   Proposed dates for completion of initial ADR session, designation of experts, discovery cutoff,
     hearing of dispositive motions, pretrial conference and trial.
28
                                                    Page 8
     Joint Case Management Statement
              Case 5:22-cv-00501-BLF Document 44 Filed 04/21/22 Page 9 of 11




1             The parties agree that ADR, expert designations, discovery, and pretrial conferences
2     are unnecessary for the preliminary injunction motion, and/or motion to dismiss to be heard
3     and decided. Should this matter proceed after the resolution of these Motions, the parties
4     propose the following schedules:
5     Plaintiffs’ Proposed Schedule:

6                    Expert Witnesses will be disclosed by June 15, 2023.

7                    All discovery will be completed by August 1, 2023.

8                    All dispositive motions will be filed by October 1, 2023.

9                    The final pre-trial conference will be scheduled December 15, 2023.

10                   The matter will be set for trial on February 1, 2024.

11    Defendants Proposed Schedule:

12           Fact Discovery Cut-Off: December 15, 2023

13           Expert Discovery Cut-Off: February 15, 2024

14           Hearing on Dispositive Motions: on or about May 31, 2024, subject to the Court’s

15            availability.

16           Final Pretrial Conference: to be set by the Court.

17           Trial Date: to be set by the Court.

18
19   18. Trial
     Whether the case will be tried to a jury or to the court and the expected length of the trial.
20
              This matter will not require a jury trial. The parties estimate that trial will take five (5)
21
      days.
22
     19. Disclosure of Non-party Interested Entities or Persons
23   Whether each party has filed the “Certification of Interested Entities or Persons” required by
     Civil Local Rule 3-15. In addition, each party must restate in the case management statement the
24   contents of its certification by identifying any persons, firms, partnerships, corporations
25   (including parent corporations) or other entities known by the party to have either: (i) a
     financial interest in the subject matter in controversy or in a party to the proceeding; or (ii) any
26   other kind of interest that could be substantially affected by the outcome of the proceeding.
27
28
                                                     Page 9
     Joint Case Management Statement
              Case 5:22-cv-00501-BLF Document 44 Filed 04/21/22 Page 10 of 11




1             Plaintiffs filed their Certification of Interested Parties on January 26, 2022 (Doc 2).
2     Defendants, as a governmental entity, are exempt from this disclosure per Local Rule 3-15(a).
3    20. Professional Conduct
     Whether all attorneys of record for the parties have reviewed the Guidelines for Professional
4    Conduct for the Northern District of California.
5             The parties have received and reviewed the Guidelines for Professional Conduct.
6    21. Other
7    Such other matters as may facilitate the just, speedy and inexpensive disposition of this matter.
      None.
8
                                                DHILLON LAW GROUP INC.
9
10
11
       Dated: April 21, 2022                     /s/David A. Warrington
12
                                                 David A. Warrington
13
                                                 Counsel for Plaintiffs
14
15
                                                 COTCHETT, PITRE & McCARTHY, LLP
16
17
18
19     Dated: April 21, 2022                     /s/Joseph W. Cotchett

20                                               Joseph W. Cotchett

21                                               Counsel for Defendants

22
23
24
25
26
27
28
                                                   Page 10
     Joint Case Management Statement
              Case 5:22-cv-00501-BLF Document 44 Filed 04/21/22 Page 11 of 11




1                                       CERTIFICATE OF SERVICE
2           I hereby certify that on April 21, 2022, I caused to serve a true and accurate copy of the
3    following on all counsel of record via ECF:
4              JOINT CASE MANAGEMENT STATEMENT AND [PROPOSED] ORDER
5
6                   I declare under penalty of perjury under the laws of the United States of America
7    that the foregoing is true and correct.
8
9           Dated: April 21, 2022                         /s/David A. Warrington
                                                             David A. Warrington
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                   Page 11
     Joint Case Management Statement
